  Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 1 of 49




     In the United States Court of Federal Claims
                                   No. 01-495C
                           (Filed: September 17, 2010)

**********************

KENT CHRISTOFFERSON, et al.,

                       Plaintiffs,

v.

THE UNITED STATES,

                       Defendant.

**********************

                                     _____________

               ORDER DIRECTING ENTRY OF JUDGMENT
                          _____________

BRUGGINK, Judge.

        This action for unpaid overtime is before the court for review and
approval of the parties’ stipulation for the entry of judgment. The signed
settlement was appended to the joint status report filed September 7, 2010, and
is attached to this order as well.1

        This case was commenced in August 2001 by four named individuals on
behalf of themselves and other former workers for the United States Bureau of
the Census. The claim was for unpaid overtime pursuant to the Fair Labor
Standards Act, 29 U.S.C. §§ 201-19 (2006), and the Federal Employee Pay Act,
5 U.S.C. §§ 5541-50a (2006). Between 2001 and 2006, thousands of plaintiffs
opted into the suit in a series of uncontested motions. Eventually, the statute of
limitations effectively foreclosed the addition of any new plaintiffs. See
Christofferson v. United States, 72 Fed. Cl. 541 (2005); Christofferson v. United
States, 64 Fed. Cl. 316 (2006) (“Christofferson I”).

       1
         The list of eligible plaintiffs appended to the stipulation that is attached
to this order is a corrected version of the list filed on September 7, 2010.
 Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 2 of 49




        During the course of this litigation, the court has issued various orders
and rulings affecting the eligibility of various groups of claimants. These orders
disallowed the claims of some plaintiffs and permitted those of others. For
example, the court granted summary judgment against the claims of employees
who worked in excess of eight hours in a day, but not more than forty hours in
a week. Christofferson I. In contrast, after a trial, the court concluded that Field
Operations Supervisors at the Concord, California field office were entitled to
claim overtime. Christofferson v. United States, 67 Fed. Cl. 68 (2005).
Additionally, the court denied claims for tolling the statute of limitations,
Christofferson v. United States, 72 Fed. Cl. 541 (2006), and denied the
plaintiffs’ motion to amend the complaint to permit recovery for “straight time”
hours. Christofferson v. United States, 77 Fed. Cl. 361 (2007).

       Through the parties’ cooperative evaluation of the claims, dozens of
individual plaintiffs have settled and received payment. In addition, this process
developed agreed-upon efforts to obtain details of the nature and extent of the
overtime claimed and has identified large numbers of persons who have not
responded to such efforts. Specifically, in 2005–06, the parties developed a
“Memorandum of Understanding,” which set out a process by which claimants
would submit claims forms allowing counsel to test a claimant’s continuing
interest in the litigation and to compare the claims with this court’s orders
limiting or allowing recovery. Of the more than 7,000 plaintiffs, more than
2,000 submitted claims forms.

       On April 15, 2009, the court directed a final notice to be sent to those
non-responding individuals instructing them that the failure to timely submit a
completed claims form would result in the dismissal of their claims. Of those
who received this final notice, only 529 persons responded indicating that they
wished to proceed as part of the litigation. Subsequently, the parties entered
into a mediation process and reached a tentative settlement. In an order dated
March 8, 2010, we held that those entitled to participate in the settlement are the
former employees of the United States Bureau of the Census who worked
during the 2000 Census, who have opted into the proceeding by submitting
timely claims sufficient under the court’s prior rulings, and who have not
previously settled or been dismissed. Those who do not meet these criteria are
ineligible to recover.

        In order to conclusively and fairly determine those claimants who are
eligible to participate in the settlement, we ordered plaintiffs’ attorney to
distribute a “Notice of Ineligibility” to all the claimants who counsel had reason
to believe were ineligible to recover. The Notice gave recipients the

                                         2
 Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 3 of 49



opportunity to provide documentary evidence of their eligibility. Forty-three
people objected, two of whom counsel determined were indeed eligible under
prior court rulings. We subsequently directed plaintiffs’ counsel to file with the
court a list of those persons who were ineligible for any reason. On August 17,
2010, we ordered the dismissal of 5,275 plaintiffs designated as ineligible. On
September 7, 2010, the parties filed with the court an executed stipulation for
the entry of judgment for the court’s review and approval.

       Neither the Rules of the Court of Federal Claims, the FLSA, nor the
FEPA mandate court review of a settlement leading to a stipulation for
judgment. Various cases, however, suggest the wisdom of this step. See, e.g.,
Hohnke v. United States, 69 Fed. Cl. 170 (2005) (suggesting that settlements of
FLSA cases should be reviewed by the court). The point of such review is to
insure that an FLSA settlement resolves a bona fide factual dispute over hours
worked or amount due and is not simply a waiver of the employees’ rights and
claims. Id. at 175 (citing Brooklyn Sav. Bank v. O’Neil, 324 U.S. 697 (1945);
D.A. Schulte, Inc. v. Gangi, 328 U.S. 108 (1946)). Such a bona fide dispute may
be resolved through settlement if plaintiffs actually bring a lawsuit under the
FLSA and the subsequent settlement is scrutinized by the court for fairness. Id.
at 179 (citing Lynn’s Food Stores, Inc. v. United States, 679 F.2d 1350, 1352
(11th Cir. 1982)).

        Here, the factual and procedural background recited above, along with
the multiple previously published decisions and a trial, make sufficiently clear
the existence of a bona fide dispute. Furthermore, this settlement—reached
after protracted litigation, extensive investigation, and arm’s length
negotiation—reflects a fair disposition of plaintiffs’ claims. Having examined
the terms of this settlement, we find it to be a just and equitable resolution to the
remaining claims in this matter. We therefore conclude that the attached
settlement agreement warrants approval. Because the settlement is “global” in
nature, i.e. inclusive of distribution and administration costs and the extensive
attorney’s fees and costs incurred over nearly a decade of litigation, and because
all plaintiffs ineligible to recover have previously been dismissed, there remain
no further matters preventing the entry of judgment. Accordingly, the Clerk is
hereby directed to enter judgment pursuant to the attached stipulation. No costs.



                                                          s/Eric G. Bruggink
                                                          ERIC G. BRUGGINK
                                                          Judge


                                         3
Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 4 of 49
Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 5 of 49
Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 6 of 49
Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 7 of 49
        Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 8 of 49



                                      EXHIBIT A
                                 ELIGIBLE PLAINTIFFS


   Abatemarco, Cariangela R.
   Abbey, Wendy L.
   Abbott, Anne C.
   Abbott, Lois M.
   Abel, Friedrich E.
   Abernathy, Judith L.
   Abernethy, Suzanne M.
   Abrams, Malcolm L.
   Acosta, Bernett
   Acosta, Emma A.
   Acosta, John
   Adams, Gloria J.
   Adams, Karen D.
   Adams, Karen Y.
   Adams, Undrae P.
   Adkins, Tanisha E.
   Afek, Dina
   Agnant, Eddy E.
   Agron, Brad M.
   Aguero, Emilio
   Aguilar, Esther
   Aguilar, Juanita
   Aguirre, Alvaro J.
   Ahlvin, William G.
   Ahrens, Russell D.
   Aikens, Marvin S.
   Akins, Janice L.
   Alcantara, Maria
   Aldridge, Freda C.
   Aleem, Saleem
   Alexandr, Victor
   Ali, Saleema N.
   Allain, Leslie F.
   Allen, Angenetta L.
   Allen, Carole E.
   Allred, Jennifer L.
   Altamirano, Arnold
   Alvarado, Edmund V.
   Alvarado, Rod A.
   Alvarez, Christine A.
   Alyea, Kathryn A.
   Amador, Carlos
   Amerson, Karen J.
   Amerson, Vincent L.

Exhibit A: Eligible Plaintiffs            1
        Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 9 of 49



   Anaya, Omar C.
   Anderson, Daniel G.
   Anderson, Henrietta
   Anderson, Holly F.
   Anderson, Jeanne K.
   Anderson, Kathleen J.
   Anderson, Lashawn Y.
   Anderson, Norbert E.
   Andrade, Bibiana C.
   Andrews Jr., Napoleon
   Andrews, Lavonne R.
   Angeletti, Irma J.
   Ansaknok, Belva
   Anthony, Wren E.
   Antreasyan, Hrant
   Appelo, Regan M.
   Applegate, Eddie
   Aquino, Lydia G.
   Arellano, Janet
   Arellano, Victor M.
   Armwood, Hope F.
   Arnold, Trilby J.
   Atkins, Ronald C.
   Aubry, Phyllis
   Auguste, Harry
   Augustowicz, Jean
   Auh, Yoon T.
   Austin, Carole
   Austin, Corliss T.
   Austin, Robin
   Avalos, Carlos A.
   Avila, Tina M.
   Awotunde, Gabriel
   Axline, Robyn M.
   Aybar, Mary
   Aziz, Ilahna
   Azuma, Jane
   Bahena, Elena Y.
   Baier, Robert J.
   Bail, Martha R.
   Bains, Rushpal
   Baker, Edgar
   Baker, Gerald S.
   Baker, Sandra M.
   Baldwin, Shida
   Ballard, Caro B.
   Banks, Diane
   Barba Finocchi, Constance J.


Exhibit A: Eligible Plaintiffs         2
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 10 of 49



   Barbecho, Evismenia
   Barclay, Carla C.
   Barclay, Tanelya L.
   Barco, Barney M.
   Barco, Joan B.
   Barfield, Delphine
   Barker, Betty J.
   Barker, Christopher
   Barnes, Alvena A.
   Barnes, Donald
   Barnes, Donald L.
   Barnes, Timothy T.
   Baron, Jerry
   Barragan, Cesar F.
   Basco, Ismael T.
   Baskin, David B.
   Basoff, Shari L.
   Bates, Ann
   Batt, Betsy
   Battey, Michelle R.
   Battraw, George A.
   Batts, Kashima D.
   Bauer, Sherri L.
   Bautista, Veronica
   Bayley, Laura J.
   Bazarnicki, Lexie A.
   Beamon, Felicia D.
   Becker, Robert J.
   Beckman, Jill A.
   Bedford, Phyllis
   Bednarz, Sharon K.
   Begraft, Scott P.
   Behrman, Jessica A.
   Bell, Anita
   Bell, Bill
   Bell, Felix
   Bell, Linda A.
   Bell, Marie G.
   Bell, Romajean
   Bell, Sandra L.
   Benavidez, Frank P.
   Bennett, Tiara
   Beondo, Eugenia
   Beranek, Joseph E.
   Bergeron, Guy G.
   Berglund, Jeanne L.
   Berlin, Gloria R.
   Berner, Susan


Exhibit A: Eligible Plaintiffs        3
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 11 of 49



   Bernstein, Cheryl
   Bernstein, Melvyn M.
   Berroteran, Josette M.
   Berry, John L.
   Best, Catherine P.
   Betker, Sara A.
   Beverly, Twanna
   Beville, Rhonda L.
   Bienstock, Claude
   Biggs, George W.
   Biglari, Kamran J.
   Billings Jr, William C.
   Bingham, Kathryn H.
   Birnbaum, Lorraine K.
   Bishop, Cheryl
   Bishop, Gregory L.
   Black, Laurie M.
   Black, Timothy A.
   Blackett, Rochelle
   Blake, Kenneth W.
   Blanchard, Gayle M.
   Blanding, April
   Blank, Barry
   Blatecky, Albert A.
   Blendermann Sr., Edward
   Blossomgame, Jimmie
   Bly, Susan
   Boehmer, Charles
   Boland, Thomas W.
   Bolton, Johnetta L.
   Bombace, Roger
   Bonaparte, Helena M.
   Bonaparte, Vendetta
   Booker, Rashod O.
   Boone, Jamal
   Boone, Jennifer J.
   Booth, Catherine
   Bordeaux, Philip A.
   Borges, Diane M.
   Borington, Jeanette
   Borkowski, Paulette A.
   Boruck, Stanley Y.
   Bowland, Stephanie
   Boxer, Aviva
   Boyd, Jeanine
   Bozin, Sheila
   Bradford, Branda E.
   Bragg, Susannah


Exhibit A: Eligible Plaintiffs        4
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 12 of 49



   Bramwell, Kathryn D.
   Brandt, Virginia K.
   Brant, Linda J.
   Brasch, Cathy
   Bratcher, Rodney M.
   Bravo, Iris
   Bremer, Joyce F.
   Brewer, Susan A.
   Broadus, Julie M.
   Broadwater, Robert L.
   Brooks, Donna M.
   Brooks, Freeman L.
   Brooks, Sadie W.
   Brooks, Tulisha M.
   Brown, Deuna M.
   Brown, Erik
   Brown, Glenda
   Brown, Lenore S.
   Brown, Nancy A.
   Brown, Peggy M.
   Brown, Perry
   Brown, Philip R.
   Brown, Rosa H.
   Brown, Teaira
   Brown, Tracy
   Brown, Travis L.
   Browner, Shera
   Bruntrop, Robert
   Bryant, Alfred L.
   Brydie, Vanessa
   Bryer, Kenneth J.
   Buchanan, Carli
   Buchanan, Lucille
   Buck, Thomas R.
   Budzisz, Peter G.
   Bugg, Edward J.
   Buil, Beysa M.
   Bullard, Tanna A.
   Bunner, Dara K.
   Burden, Antonio
   Burga, Maria T.
   Burgos, Josephine A.
   Burgueno, Annette
   Burke, Cheryl A.
   Burke, Kathryn
   Burkett, Beckie A.
   Burnett, Joseph
   Burnett, Robert A.


Exhibit A: Eligible Plaintiffs        5
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 13 of 49



   Burns, Catherine M.
   Burns, Virgil L.
   Burton, Denita
   Burton, Joan G.
   Busby, Karima A.
   Busch, Ann E.
   Buss, Robert L.
   Butler, Charlene D.
   Butler, Renee
   Buttars, Arlene P.
   Byrd, Bernadine
   Caceres, Roberto
   Cagnina, Paula
   Cahalan, Patrick G.
   Cahill, John J.
   Cain, Edward E.
   Calhoun, Chriscynthia R.
   Callahan, Neva J.
   Callahan, William A.
   Callaway, Toni Marie
   Calvillo, Leticia
   Calvillo, Michelle S.
   Camden, John C.
   Campbell, Richard J.
   Campbell, Thomas L.
   Campos, Thomas E.
   Candaras, Mark A.
   Canick, Eliot I.
   Cannata, Anthony R.
   Cannella, Patricia A.
   Cantu, Donna E.
   Cargill, Debbie A.
   Carman, Jacqueline D.
   Carmichael, Brenda M.
   Carr, Michael D.
   Carrigan, Edward J.
   Carrillo, Deborah A.
   Carrillo, Iralda
   Carrillo, Irma
   Carrillo, Josephine S.
   Carrillo, Martha S.
   Carroll, George B.
   Carter, David
   Carter, Dorothy M.
   Carter, Eileen A.
   Carter, Leo G.
   Carter, Nancy
   Carter, Nia


Exhibit A: Eligible Plaintiffs        6
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 14 of 49



   Carter-Joyner, Lejoyce
   Carvel, Robert E.
   Carver, John
   Carver, Pamela
   Casas, Elsa L.
   Casas, Ricardo J.
   Case, Christine L.
   Case, Ruth E.
   Cash, Maryjane S.
   Casillas, James A.
   Castaneda, Alma D.
   Castaneda, Daphne L.
   Castellano, John J.
   Castellanos, Susana
   Castillo, James P.
   Castillo, Luis A.
   Castro, Eugene S.
   Catt, Vivian L.
   Cautrell, Denny
   Cavanagh, Robert M.
   Cavin, Dale C.
   Cebra, Laurel W.
   Cerezo, Raymundo
   Cerna, Hamilton F.
   Cernak, John B.
   Cesar, Margareth
   Chadderdon, Judy A.
   Chaffee, Robert D.
   Chambers, Donald J.
   Chan, Linda A.
   Chandler, Lorraine S.
   Chapman, Eddye C.
   Chase, Ronda
   Chau, Mabel
   Chea, Phanna
   Cheek, Randy V.
   Chen, He
   Chen, Lin
   Chestleigh, Angelisa Y.
   Chin, Regina J.
   Chingliak, Julia M.
   Cho, Jae Wook
   Chrestensen, Carol A.
   Christenson, Caren A.
   Christofferson, Kent E.
   Chu, Otto
   Ciccaglione, Thomas M.
   Ciccone, Louis C.


Exhibit A: Eligible Plaintiffs        7
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 15 of 49



   Cifu, Elena C.
   Cisneros, Luz M.
   Clark, Angela M.
   Clark, Mildred
   Clark, Minnie J.
   Clark, Reginald V.
   Clark, Robert E.
   Clark, Shirley
   Clark, Vicky M.
   Clay, Latrice
   Clemons, Kathleen P.
   Clifton, Marci D.
   Cling, Druscilla J.
   Coartney, Leland D.
   Cobb, Barbara M.
   Cobb, Nichole C.
   Cohen, Louis E.
   Colbert, Glenda H.
   Colclasure, Marietta J.
   Cole, Edwin
   Cole, Michael
   Coleman, Birgitta M.
   Coleman, Kathy J.
   Coleman, Thomas
   Coleman-Burrell, Dolores
   Collett, Mary Ann G.
   Collett, Robert
   Collier, Katherine L.
   Colone, Crystal Y.
   Compton, Henry A.
   Conklin, Bonnie J.
   Connelly Jr, Edward A.
   Connelly, Jeanette C.
   Connors, Laurie J.
   Contreras, Cruz E.
   Contreras, Maria R.
   Conwell, Robyn L.
   Cook, Wendy L.
   Cooke, Cory L.
   Cooper, Cheryl A.
   Cooper, Genevieve E.
   Cooper, Gerald A.
   Corbett, Victoria E.
   Corbin, Charles C.
   Corbin, Royal T.
   Corcoran, Chris C.
   Cormode, Brenda A.
   Cornelius, Mark


Exhibit A: Eligible Plaintiffs        8
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 16 of 49



   Corral, Mario A.
   Cosin, Catharina
   Cotton, Deirtre G.
   Cotton, Ronnie
   Cowan, Ian A.
   Craft-Jaggers, Janet
   Craig, Tomie L.
   Crayton, Christi L.
   Creel, Sheryl K.
   Cristia, Klara
   Cross, Regina
   Crotty, Arthur T.
   Crouse, Corinne M.
   Crowe, Betty L.
   Crowe, Jeannie S.
   Crowe, Josie L.
   Culbreth, Sigrid
   Cummings, Michelle R.
   Curry, Rosalind
   Dahl, Aida N.
   Dailey, James G.
   Daley, Diane
   Dang, Tiffany N.
   Daniel, Charles E.
   Daniels, Sharon L.
   Dannemann, Karl O.
   Darby, Elaine V.
   Dartez, Kim L.
   Darwish, Laila
   Davenport, Joan E.
   Davidson, Shirley F.
   Davis, Annabelle E.
   Davis, Audrey A.
   Davis, Cindy L.
   Davis, David L.
   Davis, Glenn M.
   Davis, La Vearne Y.
   Davis, Larry
   Davis, Levy Kim L.
   Davis, Marie M.
   Davis, Mark D.
   Davis, Pamela
   Davis, Paulette B.
   Davis, Sharlene
   Daye, Les
   De Jesus, Belinda S.
   De La Torre, Rodolfo
   De Lara, Karen B.


Exhibit A: Eligible Plaintiffs        9
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 17 of 49



   Deas, Naretha
   Debeers, Roger N.
   Decovsky, Lenore J.
   Decristoforo, Mario L.
   Degges, Deniese R.
   Degraffenreid, Lynnette
   Dehart, Adrian
   Dejean, Carmelle
   Dejesus, Julissa
   Dekoszmovszky, Peter
   Delfin, Marie M.
   Delgadillo, Henry
   Denomie, Jennifer
   Dent, Michael A.
   Depoy, Linda C.
   Derosa-Fitch, Edith M.
   Desantiago, Wendy V.
   Devine, Pamela S.
   Dewey, David J.
   Dewey, Shirley A.
   Deyoung, Janice E.
   Di Gregorio, Bernard
   Diaz, Amalia
   Diaz, Marie
   Diaz, Martha L.
   Difrancesco, Joseph
   Dionne-Mince, Shelly A.
   Dirksen, Kathleen S.
   Discher, Joseph A.
   Dispensa, Harry R.
   Dixon, Michelle
   Dobshinsky, John
   Dodds, Salli
   Dodge, Richard A.
   Doke, Barbara
   Domingue, Sean
   Domue, Sheila
   Donahue, Erin Ann
   Donoso, Marta M.
   Doran, Alice M.
   Dorsett, Sandra W.
   Dorsey, Carolyn E.
   Dorsey, Gloria
   Dougharty, Barbara J.
   Dougharty, Jason C.
   Douglas, Nicole R.
   Douglas, Thea M.
   Dourgoutian, Agavni


Exhibit A: Eligible Plaintiffs        10
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 18 of 49



   Dowell, Georgina L.
   Downes, Lisa Yvette
   Downin, Rosemarie J.
   Doyel, Kenneth D.
   Doyle, Richard A.
   Drechsel, Ann
   Duane, Douglas J.
   Dubbe, Elizabeth I.
   Duffy, Edward D.
   Dunbar, Candie
   Duncan, Jo A.
   Dunn, Victoria V.
   Dunnam, Stephanie L.
   Duran, Steve R.
   Dutch, Travis L.
   Dyson, Lauretta
   Eckford, Catherine
   Eckstrom, Carl J.
   Edmond, Janice T.
   Edmondson, Robert L.
   Edwards, Diedra
   Edwards, Gail L.
   Edwards, Gloria R.
   Edwards, Jody L.
   Edwards, Patricia
   Efstathiou, John
   Egorov, Tanya
   Elguindy, Melinda W.
   Elliott, Rose
   Enge, Nachelle
   Ensminger, Evelyn V.
   Escarsega, Edward R.
   Essex, Vanita
   Evan, Frances A.
   Evans, Rodrick A.
   Ewald, Connie S.
   Ewing, Bert K.
   Fago, Joel
   Fahie, Evelyn D.
   Fahs, Becky E.
   Fain, Bill W.
   Faison, Krystal R.
   Falconi, Victor E.
   Fantazia, Joseph J.
   Farrell, Lincoln
   Farrelly, Patrick
   Fauver, Pier L.
   Featherstone, Charles L.


Exhibit A: Eligible Plaintiffs        11
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 19 of 49



   Felix, Alejandra
   Fell, Robert B.
   Fernandez, Gerardo
   Fernandez, Verlene M.
   Ferranti, David
   Ferras, Andrew R.
   Ferreira, Christina M.
   Ferrovecchio, Joseph J.
   Festante, Mario A.
   Fields, Mark
   Filipiak, William F.
   Fimbres, Jose L.
   Finch, Sharon K.
   Finley, Ellen L.
   Finn, Ruth E.
   Finucane, Richard F.
   Fiol, Stephanie
   Fischer, Mary
   Fisher, Dashika A.
   Fisher, John W.
   Flanagan, Eleanor M.
   Fleckenstein, Edmund A.
   Fleming, Jean P.
   Fleming, Linda L.
   Flessati, Alois
   Flores, Anna M.
   Flores, Lina R.
   Flores, Maria C.
   Ford, George D.
   Ford, Larry
   Ford, Patricia A.
   Fornof, Darin J.
   Forsythe, Bertha M.
   Fortune, Kettly
   Foster, James M.
   Foster, Janene
   Foster, Robert
   Foster, Vivian L.
   Fountain-Tucker, Beverly E.
   Fox, Elizabeth J.
   Fox, Harold J.
   Fox, Rachel
   Fox-Farwell, Lisa
   Foxx, Evelyn T.
   Fraga, Erika
   Frank, Judith
   Frank, Patrick D.
   Franklin, Ronette F.


Exhibit A: Eligible Plaintiffs        12
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 20 of 49



   Franzone, Joan
   Frazier, Darlene K.
   Frazier, Gary L.
   Frazier, Tawanda
   Freeman, Charnell K.
   Freeman, Clyde J.
   Froehlich, Billie-Rae S.
   Froehlich, Eldon E.
   Frumkim, Emanuil P.
   Fullbright, Sandra
   Furlan, Jose A.
   Fusaro, Peter A.
   Fuss, Nina J.
   Galan, Yvette
   Galinski Sr., Raymond S.
   Gallardo, Chris M.
   Gamble, Rhonda A.
   Gandues, Willette
   Ganesh-Shiwmangal, Bonnie
   Gant, Rosalyn M.
   Garcia, Bertha
   Garcia, Christine M.
   Garcia, Daisy
   Garcia, Jeannette
   Garcia, Ludmila
   Garcia, Richard P.
   Garcia, Rita L.
   Garcia, Sandra S.
   Garigan, Beatrice
   Garner Jr, Tommy J.
   Garner Jr, Wright
   Garrett, Eileen B.
   Garrigus, Lewis R.
   Garvin, Kenneth
   Gasman, Martin
   Gaspar, Elizabeth
   Gasser, Jacqueline J.
   Gassman, Victor A.
   Gaulding, Carolyn S.
   Gayton, Amelia
   Gee, Vanyoska
   Gehm, Donald E.
   George, Deborah
   George, Robert A.
   George, Theresa E.
   Gerasta, Letisia B.
   Gericke, Otto L.
   Gerres, Barbara E.


Exhibit A: Eligible Plaintiffs        13
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 21 of 49



   Gibbs, Robert N.
   Gibson, Kathleen E.
   Gilbert, Jeffrey
   Gilbert, Vivian R.
   Gillespie, Gerard
   Gillespie, Julia
   Glaser, Michael R.
   Glennon, William
   Glover, Patricia
   Golden, Norman S.
   Gomez, Charles G.
   Gomez, Leane E.
   Gomez, Trudy A.
   Gomez-Carr, Caroline M.
   Gonzales, Esperanza A.
   Gonzales, Ursula
   Gonzales, Veronica T.
   Gonzalez, Alicia J.
   Gonzalez, Eva
   Gonzalez, Joyce V.
   Gonzalez, Lucy M.
   Gonzalez, Luisa
   Goodman, Michael S.
   Goodman, Pamela
   Goodwin, Alan
   Gorden, Mark F.
   Gordon, Valerie A.
   Goris, Valerie
   Gorski, Joan A.
   Goudeau, Dana A.
   Graham, Steven
   Granade, John F.
   Grant, Robin
   Grant, Sharon J.
   Granviel, Segni F.
   Graves, Valerie
   Gravesande, Selma P.
   Gray, Sheila
   Greco, Naomi R.
   Green, Lawrence
   Green-Milligan, Sherry
   Gregory, Aaron D.
   Greiner, Donna
   Grenon, Dennis
   Gresham, Sharon D.
   Griffin, Claire B.
   Griffin, Janyce
   Griffin, Joyce L.


Exhibit A: Eligible Plaintiffs        14
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 22 of 49



   Griffin, Tameeca L.
   Griggs, Robert C.
   Grimes, Debra L.
   Grimes, Melvin L.
   Groh, Ellen T.
   Gruenenfelder, Rachel E.
   Grussi, Martha D.
   Gruszka, Casimir S.
   Gruzs, Jeanne M.
   Guerra, Maryl E.
   Guerrero, Carmen
   Guess, Marsha E.
   Guevara, Edilberto
   Guevara, Margaret J.
   Guia, Samuel G.
   Guirand, Jean D.
   Gunther, Rita L.
   Gustus, Marion
   Gutierrez, Leopold
   Gutierrez, Marisela
   Gutierrez, Maya N.
   Guzman, Oscar
   Hadaway, Walter L.
   Hagerich, Nancy
   Haggett, Mary M.
   Hagins, Helen J.
   Hall, Ronald
   Hall, Virginia G.
   Halvorson, Vanda
   Ham, Donald P.
   Hamilton, Cheri D.
   Hamilton, Keith P.
   Hamilton, Shelia L.
   Hamilton, Shidonna L.
   Hamlin, Randy E.
   Hardgrave, Sonia R.
   Hardy, Allyn J.
   Hardy, Mary E.
   Harmon, Kitten
   Harper, Darlene
   Harper, Darsheena S.
   Harper, Louis E.
   Harper, Mary C.
   Harrington, Donna J.
   Harrington, Jacqueline I.
   Harrington, Michael F.
   Harris, Agnes
   Harris, Calvin D.


Exhibit A: Eligible Plaintiffs        15
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 23 of 49



   Harris, Gloria S.
   Harris, Irving O.
   Harris, Jeffrey
   Harris, Josh P.
   Harris, Mary E.
   Harris, Navarina
   Harris, Steven
   Harris, Tierney
   Harris, Tracy F.
   Harrison, John G.
   Harte, Bernard
   Harvey, Jack G.
   Harvey, Sanaria M.
   Hassel, Lisa A.
   Hastie, Tara
   Haug, Ruth E.
   Hawj, Kou K.
   Hawley, Janice E.
   Hawthorne, Patricia
   Hays, Holly M.
   Hazen, Myron A.
   Headlam, Ferdie
   Heal, Earl H.
   Heckstall, Andrea F.
   Hegarty, Hugh D.
   Heller, John W.
   Helwig, Melissa C.
   Henderson, Barbara D.
   Henderson, Russell E.
   Hennes Woodman, Melinda
   Herbsman, Aaron N.
   Hernandez, Aida
   Hernandez, Daniel
   Hernandez, Fedor E.
   Hernandez, Kristi M.
   Hernandez, Manuel C.
   Herrera-Ayala, Angel P.
   Herzog, Joyce B.
   Hess-Mitchell, Pamala K.
   Hester, Janine J.
   Heydon, Dorothy A.
   Hickman, Joe
   Hickok, Beth A.
   Hicks, James E.
   Higuera, Imelda
   Hill, Melissa R.
   Hilyard, Patricia A.
   Hines, Beverly


Exhibit A: Eligible Plaintiffs        16
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 24 of 49



   Hodges, Cindi L.
   Hodges, Rona L.
   Hodges, Tyrone
   Hodina, Georgia A.
   Hofstein, Marian E.
   Hogan, Jerold W.
   Holden, Richard M.
   Holland, Marjorie
   Hollins, Naomi
   Holloway, Andrea V.
   Holmes, Pamela
   Honeyestewa, Carl G.
   Hood, A Levert
   Hooker, Gary L.
   Hoover, Barbara J.
   Hopewell, Rebecca L.
   Horne, Hazel C.
   Horne, Jeffrey
   Horst, Deborah L.
   Horton, Raymond J.
   Hoshell, Terri-Gayl
   House, Amanda
   Housler, Delores O.
   Howard, Gwen B.
   Howell, Sandra
   Howser, Paul R.
   Hubbert, James L.
   Huber, Suzanne R.
   Hudnall, Sarah J.
   Hudson, Andrea
   Hudson, Diane G.
   Hudson, Roger S.
   Hudson, Shannon
   Huerta, Rosa L.
   Hufnagel, Leon P.
   Hughes, Judith L.
   Hughes, Lynda K.
   Hughes, Nancy J.
   Hughston, Debra F.
   Hulsey, Virgil D.
   Hummer, Marjorie A.
   Hunter, Silvia
   Hunts, Daniel K.
   Hutt, Martonia M.
   Huy, Sokchan T.
   Ignash, Walter S.
   Illiano, Dan T.
   Inda, Araceli


Exhibit A: Eligible Plaintiffs        17
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 25 of 49



   Ing, Mary E.
   Inghelram, Thomas J.
   Ingram, Glenda Francisca
   Iqbal, Raza
   Isa Del Sol, Rosario
   Isaacs-Ellis, Amy L.
   Ivery, Peggy Y.
   Iveson, William B.
   Ivonne, Jo
   Jackson, Arthur
   Jackson, Cherida L.
   Jackson, Dionne A.
   Jackson, Jack A.
   Jackson, Julie L.
   Jackson, Ladonna
   Jackson, Olive F.
   Jackson-Randall, Freda D.
   Jacobs, Lasalle W.
   Jacobs, Mary E.
   January, Aaron
   Jaramillo, Darlene L.
   Jarden, Roselyn D.
   Jarquin, Jacqueline G.
   Jean-Bart, Marie M.
   Jefferson, Ebony
   Jefferson, Sheron
   Jenkins, Denise
   Jenkins, Jannie L.
   Jenkins, Marion R.
   Jenkinson, Judith E.
   Jennett, Lucius F.
   Jennings, Archanel N.
   Jennings, Carole C.
   Jennings, Dominque
   Jensen, Peter M.
   Jerjerian, Michael J.
   Jewell, Toni-Ann
   Joachim, Patricia S.
   Johnson, Andre B.
   Johnson, Brandie
   Johnson, Deena M.
   Johnson, Desharna S.
   Johnson, Edward
   Johnson, Elnor
   Johnson, Glen M.
   Johnson, Joni M.
   Johnson, Lisa R.
   Johnson, Marian A.


Exhibit A: Eligible Plaintiffs        18
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 26 of 49



   Johnson, Marie Y.
   Johnson, Michelle L.
   Johnson, Nancy C.
   Johnson, Rickey A.
   Johnson, Sandra J.
   Johnson, Steven D.
   Johnson, Terri L.
   Johnson, Tina
   Johnson, Tyesha
   Johnson, Ward
   Johnson, Zebbra S.
   Johnson-Evans, Charlesetta D.
   Johnston, Patricia A.
   Jojola, Darlene D.
   Jones, Kaamilya P.
   Jones, Krishna K.
   Jones, Maria A.
   Jones, Melford
   Jones, Rashima J.
   Jones, Shalamar
   Jones, Shawn
   Jordan, Glynis R.
   Jordan, Lynn
   Jordan, Veronica
   Jorle, Maria
   Jose, Evelyn
   Joseph, Deborah
   Julian, Joyce T.
   Jumper, Alice F.
   Jungk, Diane
   Kadell, Amy B.
   Kalipetis, Nancy L.
   Kalish, Charles H.
   Kallis, Ramirez Maria A.
   Karpowicz, Lisa M.
   Kavaler, Franklin
   Kaye, Janet E.
   Kazovsky, Gita
   Kearney, Jean
   Kearney, Sheri L.
   Keaton, Lether L.
   Keeler, Harold W.
   Keene, John B.
   Keller, Remedios L.
   Kelley, Verne H.
   Kellogg, Lori F.
   Kelly, Gerald L.
   Kelly, Lashone


Exhibit A: Eligible Plaintiffs        19
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 27 of 49



   Kelly, Robert W.
   Kelly, Sarah E.
   Kemp, Philip W.
   Kempkes, Joe
   Kennedy, Geraldine
   Kerwin, Shirley J.
   Ketchum, Betty C.
   Key, Erika
   Key-Suttle, Delta M.
   Khogali, Abdel
   Khondker, Mokhlesur R.
   Kim, Francis J.
   Kimery, Kimeley D.
   Kinchen, Armer
   Kiper, Shunell
   Kirby, David R.
   Kirwan, Mary L.
   Kissel, George A.
   Kitt, Richard P.
   Klidas, Margaret A.
   Knight, Gerald O.
   Knowles, Norita
   Kohn, Stephen G.
   Koltick, Janet C.
   Koltzen, John K.
   Komins, Lynn T.
   Koo, Liangzen
   Kook, Raymond L.
   Kopriva, Sally M.
   Koran, Shirley M.
   Kossman, John
   Koteras, Frankie J.
   Kotzamanis, Joyce W.
   Kouts, Danielle L.
   Kovalsky, Jamie J.
   Kowalski, Charles E.
   Kowren, Karalea
   Kreiswirth, Donald
   Kreus, Gary D.
   Kuhn, Richard E.
   Kurtzberg, Ronald B.
   Kyle, Kathryn P.
   Kyle, Ruth J.
   La Croix Jr, Archibald F.
   La Viola, Frank S.
   Lacoste, Sharon
   Lacy, Essie M.
   Lafollette, Delane F.


Exhibit A: Eligible Plaintiffs        20
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 28 of 49



   Lake, Perry M.
   Lall, Chabi
   Lalumond-Erhamel, Julia H.
   Lamb, Terry L.
   Lamebull-Juneau, Donna L.
   Landers, Christopher
   Landers, Jean
   Landers, Theo D.
   Landow, Carol S.
   Landry, Clifford X.
   Lane Jr, Albert A.
   Lane, Gina
   Langford, Monique
   Langston, Daniel C.
   Lankes, Allen R.
   Lankford, Jeralyce L.
   Lantz, Warren C.
   Larson, Tiffany M.
   Lathey, Nancy A.
   Lawler, Hazel M.
   Lawler, Richard J.
   Lawlor, Zachary J.
   Lawrence, Elma J.
   Lawson, Caron P.
   Lawton, Shelia A.
   Layton, Michael L.
   Lazernik, Marvin S.
   Lea, Kristin N.
   Leach, Leroy C.
   Leach, Michelle M.
   Lear, Janice E.
   Leblanc, Barbara
   Ledford, Ronald
   Ledger, Joan
   Ledvina, Laura J.
   Lee, Greglon Y.
   Lee, Jim S.
   Lee, Sherry R.
   Lee, Suzanne R.
   Legette, Ellene
   Lehman, Ralph F.
   Leinen, Gary E.
   Lemons, James A.
   Lent, James
   Leone, Silvana
   Leslie-Gates, Travie
   Lett, Donna M.
   Leung, Cindy


Exhibit A: Eligible Plaintiffs        21
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 29 of 49



   Levine, Barry Z.
   Levitt, Michael P.
   Levitt, Zelda S.
   Lewis, Catherine
   Lewis, Diane
   Lewis, Loren C.
   Lewis, Marie L.
   Lewis, Thomas T.
   Linda, Lauren
   Lindauer, William
   Linderman, Russell J.
   Lindersmith, John L.
   Lindquist, Edward E.
   Lindstrom, William H.
   Linhart, Steve L.
   Lipper, Seymour
   Lippert, Barbara G.
   Littlejohn, Bernice M.
   Littleton, Baron J.
   Litwinow, Nina
   Livers, Gregory A.
   Livingston, Daniel E.
   Lomahoma-Tunney, Elfrieda
   Lomax, Brenda L.
   Lombardi, Emmie
   Long, Kathleen S.
   Loomis, Charles L.
   Lopez, Anthony C.
   Lopez, Harold J.
   Lopez, Jacqueline I.
   Lopez, Manuel M.
   Lopez, Rachelle M.
   Lopez, Soledad
   Lortz, Julie D.
   Louie, Shui O.
   Love, Loreine
   Lowe, Deborah A.
   Lucke, Mark W.
   Lucky, Harry E.
   Luers, D.J.
   Lugo, Mario Z.
   Lugowski, Barbara L.
   Luong, Charles L.
   Luttrell, Allen W.
   Mabury, Frances L.
   Mac Clennen, Dianne E.
   Mac Donald, Cybille A.
   Mac Murray, Barry J.


Exhibit A: Eligible Plaintiffs        22
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 30 of 49



   Mackay, Irene
   Mackie, Kathryn D.
   Mackinlay, Janette
   Macklin, Dennis R.
   Maddux, Melody S.
   Magee, Jenny M.
   Maguire, Sean
   Mahoney, Gaylerd V.
   Main, Ronald A.
   Malinzak, Judith N.
   Malkin, Luba M.
   Malloe, Jay K.
   Malmborg, Mary D.
   Malone, Thomas J.
   Maloney, Kona
   Malphurs, Lillian N.
   Malysa, Jennie D.
   Mangrum, Clarence
   Manley-Cicala, Anne
   Manns, Charles L.
   Manodori, Annamaria B.
   Marchan, Martin
   Marchetti, Robin A.
   Mark, Wanda G.
   Marks, Denitrice E.
   Marks, Thomas E.
   Marrazzo, Gerald V.
   Marrufo, Isabel
   Mars, Gina
   Marshall, Karen L.
   Marshall, Terri N.
   Martin Del Campo, Irene
   Martin, Bridie M.
   Martin, John R.
   Martin, Laura J.
   Martin, Monika E.
   Martindale, Sandra
   Martinez, Erica Y.
   Martinez, Gabriel M.
   Martinez, Ruben S.
   Mastandrea, Sharon L.
   Matejka, Mary S.
   Mathis, Robert S.
   Matthews, Gwendolyn K.
   Matthews, Monique L.
   Mattis, Darlene
   Matto, Annella
   Mattox, James W.


Exhibit A: Eligible Plaintiffs        23
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 31 of 49



   Matura, Richard D.
   Maturo, Karen I.
   Maxwell, Estella
   Maxwell, Robert W.
   Mayer, Marvin J.
   Mazzotta, Gregory J.
   Mc Afee, Doris M.
   Mc Burney, Shannon
   Mc Cabe, Susanne
   Mc Cain, Letizia
   Mc Candless, Linda K.
   Mc Carthy, Maureen
   Mc Clellan, Dyton E.
   Mc Clendon, Keisha A.
   Mc Closkey, Claire R.
   Mc Cloughy, James W.
   Mc Connell, Patrick C.
   Mc Cormack, Danielle
   Mc Cormick, Kevin V.
   Mc Cormick, Ralph P.
   Mc Cowan, Shannon J.
   Mc Cown, Marguerite A.
   Mc Coy, Sherry
   Mc Cready, Thomas N.
   Mc Crone, Frank L.
   Mc Daniel, Lee
   Mc Dermott, Patrick J.
   Mc Dougall, Abbie M.
   Mc Eachern, Helen
   Mc Farlane, Tassycia Y.
   Mc Garva, David J.
   Mc Gee, Michael
   Mc Gensie, Linda
   Mc Gill Jr., Gilbert
   Mc Gill, Jennifer
   Mc Gonigal, Rian
   Mc Gowan, Thomas P.
   Mc Guinn, Lauren K.
   Mc Hugh, Richard
   Mc Knight, Eddie R.
   Mc Kune, Syronne H.
   Mc Lead, Judith
   Mc Lucas, Robert
   Mc Quilla, Johnny W.
   Mc Spirit, Karen A.
   Medina, Aaron
   Meeks, Penny J.
   Meenen, Leslie C.


Exhibit A: Eligible Plaintiffs        24
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 32 of 49



   Mehlbrech-Brewton, Tamara A.
   Mele, Nicholas
   Melendez, Virginia R.
   Memmott, Lottie S.
   Menchaca, Celsa A.
   Mendoza, Jose L.
   Menkin, Rita B.
   Meronnee, Daryll D.
   Merritt, David
   Mester-Lepinske, Diana G.
   Metzler, Darlene E.
   Meyer, Sharon A.
   Meyerhoffer, Nancy E.
   Meyers, George
   Michael, Carolyn J.
   Michaels, Monica S.
   Midkiff, Martha A.
   Mike, Carolyn D.
   Mike, Dorothea
   Miles, Lacheryl L.
   Miller, Candace D.
   Miller, Joy M.
   Miller, Robert M.
   Millington, Victoria
   Mills, Eddy
   Milstead, Rosemarie
   Milstein, Judith A.
   Milton, Juaniceia L.
   Mims, Anthony R.
   Minkin, Joseph
   Minton, Michael R.
   Miranda, Frank
   Missouri, Jack
   Mitchell, Deborah A.
   Mitchell, Harroll E.
   Mitchell, Janice J.
   Mitchell, Marsha R.
   Mize, Claudia S.
   Mojica-Rodriguez, Sandra
   Molk, Gregory M.
   Molloy, Timothy E.
   Monk, Sandra L.
   Monroe, Alvin L.
   Montecino, Leonard G.
   Montgomery, Ruthie R.
   Montgomery, Sophie
   Moody, Amar R.
   Moon, Myrta K.


Exhibit A: Eligible Plaintiffs        25
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 33 of 49



   Moore, Donald
   Moore, James E.
   Moore, Latetsa J.
   Moore, Sandra C.
   Moore, Tracy M.
   Moore-Deas, Beverly
   Mora, Silvia M.
   Morales, Cheryl L.
   Morales, Ernest O.
   Morales, Mayra
   Morales-Franco, Angelica
   Morano Jr., Gerard L.
   Morant, Carolyn
   Moratti, Robert
   Mordan, Noemi
   Morgan, Allie B.
   Morgan, Charlotte
   Morley, Andrea J.
   Morley, Wendy
   Morningstar, Arioch A.
   Morrice, Richard J.
   Morris Jr., Robert L.
   Morris, Ann S.
   Morris, Janet R.
   Morris, Pamela K.
   Morris, Rosemary H.
   Morrison, Marjorie L.
   Morrison, Scott M.
   Morsette, Steve T.
   Mueller, Alicia A.
   Mueller, Gary R.
   Muhammad, Ihdina
   Muhammad, Rachel
   Muller, David J.
   Muller, Dena L.
   Munguia, Lydia
   Munoz, Ascension S.
   Murburg, Thelma D.
   Murdock, Shelley M.
   Murphy, Chonne F.
   Myhand, Beverly N.
   Na, Sang-Hoon
   Nafarrate, Rudy S.
   Nash, Richard A.
   Nathan, Mary
   Nava, Michael S.
   Navarrete, Michelle D.
   Nazario, Julie M.


Exhibit A: Eligible Plaintiffs        26
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 34 of 49



   Neil, Everett
   Neill, Janelle R.
   Nelson, Bernadette M.
   Nelson, Clint J.
   Nelson, Gary A.
   Nelson, Omar
   Nelson, Vicki A.
   Neville, Patrick
   Newman, Elizabeth M.
   Newman, Trina C.
   Newton, La Donna M.
   Nicholas, Barry A.
   Nicholi, Gabriel H.
   Nichols, Patricia
   Nicholson, Alicia
   Nickens, Gail R.
   Nicklaus, Catherine S.
   Nieboer, Jennifer K.
   Nieves, Elvia
   Nin, Herbert A.
   Nisen, Paul
   Nitschke, Frances
   Noble, Patricia L.
   Nocket, Kathryn L.
   Noel, Wesley L.
   Noller, Laurie K.
   Nonnemaker, Lauretta I.
   Norkon, Robert A.
   Norman, Raymond
   Northrop, Suzzann
   Nottelman, Sandra P.
   Nugent, Andrea
   Nwozuzu, Blessing
   Nylund, Bonnie S.
   Oberch, Lori A.
   Oberstein, Marydale
   Oblath, Jonathan R.
   O'Brien, Shellie J.
   Oconnor, Rodger P.
   Odell, Amy
   O'Dell, Phyllis
   Odell, Robert L.
   Oens, Jr. Rodney L.
   Offret, Anthony J.
   O'Garro, Daniel
   Ok, Bong H.
   Old Chief, Muriel M.
   Olguin, Amparo N.


Exhibit A: Eligible Plaintiffs        27
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 35 of 49



   Olson, Christopher J.
   O'Neal, Anitra D.
   Onorato, William
   Onyenachi, Sidona N.
   Opely, Karen K.
   Ordonez, David M.
   Orelien, Joseph
   Orellano, Carmen C.
   Ornelas, Alfredo R.
   Orozco, Scott M.
   Ortiz, David
   Ortiz, Lisa N.
   Ortiz, Lissette
   Ortiz, Luz M.
   Osborne, Monty L.
   Osby, Glenda A.
   Oseguera, Juliet
   Osollo, Victoria L.
   Osorio, Paul J.
   Otchere, Peter B.
   Otudor, Abena T.
   Pabst, Wanda L.
   Pacheco, Hermes M.
   Padilla, Alex J.
   Padilla, Lisa
   Padilla, Maria
   Pagan, Madeline
   Page, Charles E.
   Paige, Rachel C.
   Palminteri, Rosemary
   Palomino, Andrews O.
   Paoloni, Joseph A.
   Paoloni, Margaret H.
   Paquin, Maria
   Parker, Dean
   Parker, Dean A.
   Parker, Debra
   Parker, Mark
   Parker, Michele R.
   Parker, Myrna L.
   Parker, Rufus
   Parker, Tyrone
   Parris, Michelle L.
   Parson, Domenique M.
   Parsons, Leslie J.
   Parsons, Richard C.
   Pasieczny, Danuta
   Patel, Mayur R.


Exhibit A: Eligible Plaintiffs        28
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 36 of 49



   Patrick-Mcdowald, Tiverton
   Patterson, Ada M.
   Patterson, Alfred D.
   Patterson, Benny
   Patterson, Byron
   Patterson, Lionel
   Patton, Nansea M.
   Paulson, Larry W.
   Pavlich, Georgia C.
   Pawlowski, Stanley A.
   Payne, Michele
   Payton, John R.
   Pearson, Crystal G.
   Peden, Cynthia A.
   Pedersen, Patricia A.
   Pendleton, Diane M.
   Pennella, Peter L.
   Pennock, Mandi B.
   Penso, Derryck
   Perez, Ana L.
   Perez, Beatriz
   Perez, Pedro
   Perez, Victor L.
   Perez, William G.
   Perkins, Deborah
   Perkins, Harry G.
   Perry, Stephanie
   Peskir, Michael
   Peters, Leroy A.
   Peters, Patricia A.
   Petersen, Doris
   Petersen, Ian W.
   Petersen, Karyn
   Peterson, Debbie G.
   Peterson, Donna L.
   Peterson, Gerald P.
   Peterson, James M.
   Peterson, Steven J.
   Pethigal, James C.
   Petite, Grace E.
   Petrasek, Farrah
   Petruska, Oline J.
   Pettit, Katherine D.
   Pettway, Marvalette D.
   Pfluger, Richard G.
   Phillips, Deborah A.
   Phillips, Linda M.
   Phillips, Lisa


Exhibit A: Eligible Plaintiffs        29
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 37 of 49



   Phillips, Pat
   Phoomahal, Eugenia
   Pierce, Patrick M.
   Piper, Jack
   Pirtle, Carl V.
   Pisonero, Craig A.
   Pitts, Shirley A.
   Plambeck, Suzanne E.
   Pomonis, Peter T.
   Pompan, Arnold
   Pope, Gary
   Porcaro, Kim D.
   Porchia, Lytrischia A.
   Porter, Benjamin
   Porter, Jill S.
   Porter, Mitchell
   Portman, Harry B.
   Powell, Antoinette D.
   Powell, Carol L.
   Powell, Nicole B.
   Powell, Phil W.
   Prado, Mamerto A.
   Pressley, Helen
   Pretko, Leonard B.
   Preuhs, Dessa M.
   Primous, Nathaniel J.
   Prince, Sheryl N.
   Prine, Sondra K.
   Prinz, Helda C.
   Pritchard, Katrina M.
   Prohaski, Douglas
   Pruitt, Florrie D.
   Pryor, Debbie
   Puida, Terrence T.
   Pulvino, Julie
   Pulvirenti, Caroline M.
   Quarker, William
   Quinn, Janice A.
   Quinn, Robert A.
   Quinones, Maria L.
   Quint, Susan M.
   Quintero, Jesus R.
   Quiroz, Christina M.
   Rabe, Thomas J.
   Radley, Sheila J.
   Ragel, Mary C.
   Ragoo, Karran
   Rallo, Theadora A.


Exhibit A: Eligible Plaintiffs        30
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 38 of 49



   Ram, Raja
   Ramdin, Laxmi
   Ramirez, Elizabeth
   Ramirez, Kenly S.
   Ramos, Margarita N.
   Ramos, Marina G.
   Ramsey, Debra J.
   Randall, Vernita M.
   Randler, Laurie G.
   Randolph, Karen J.
   Rankin, Stacy
   Rasbury, Ollie
   Ratcliffe, Billie J.
   Rawlins, Terry G.
   Raymond III., John G.
   Reach, Susan G.
   Redick, Theresa C.
   Redlin, Joel I.
   Reed, Beverly W.
   Reed, Shirley
   Reese, Rosa
   Reese, Tiffany
   Reid, Richard J.
   Reilly, Cynthia R.
   Reilly, Edward R.
   Relinski, Patricia J.
   Rembold, Joseph M.
   Rendell, George D.
   Rendell, Sandra B.
   Render, Hortense A.
   Reno, Philomena M.
   Ressell, Michelle G.
   Reyes, Danny
   Reyes, Jeffrey K.
   Reynolds, Evelyn K.
   Reysen, Edward W.
   Rheams, Renee
   Rhie, Rena H.
   Rhines, Kristi K.
   Rhodes, Lisa
   Richarde, Patricia
   Richards, Gale H.
   Ricketts, Suzette S.
   Rico, Maureen D.
   Riera, Sylvia
   Riley, James E.
   Rincon, Jackeline D.
   Rinehart, Nilda E.


Exhibit A: Eligible Plaintiffs        31
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 39 of 49



   Rios, Hugo V.
   Risley, Dennis R.
   Risuglia, Maria
   Rittner, Richard H.
   Rivera, Bertha M.
   Rivera, Colleen
   Rivera, Connie
   Rivera, Miguel A.
   Rivers, Moses D.
   Rivers, Sonya D.
   Rivier, Michele K.
   Roberson, Coi
   Roberts Jr., Raymond
   Roberts, Belinda F.
   Robinson, Alan
   Robinson, Cheryl A.
   Robinson, Debbie
   Robinson, Elaine C.
   Robinson, Jerome K.
   Robinson, Joanne C.
   Robinson, Luetta L.
   Robinson, Oneca J.
   Robinson, Trinette A.
   Robinson, Veda L.
   Robinson-Kochi, Terry L.
   Roche, Warren
   Rocheford, James A.
   Rocheford, Lillian
   Rodriguez, Anthony G.
   Rodriguez, Antonio P.
   Rodriguez, Edilia G.
   Rodriguez, Louis A.
   Rodriguez, Samuel S.
   Roessler-Lobert, Carey A.
   Rogers, Gary A.
   Rogers, Sheila K.
   Rogers, Wesley J.
   Rolland, Barbara
   Romero, Myra
   Rosado, Virginia D.
   Rosales, Maria E.
   Rosario, Sabrina
   Rosas, Reylene M.
   Rosen, Leo
   Rosenblatt, Alan
   Rosenthal, Eileen B.
   Rosenthal, Jerry
   Rosinski, Susan J.


Exhibit A: Eligible Plaintiffs        32
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 40 of 49



   Ross, Alyssa A.
   Rossi-Jensen, Clara
   Rothman, Stephen J.
   Roughan, Rita
   Rousseve, David T.
   Rousseve, Thomas S.
   Rowland, Thomas C.
   Rowley, Deborah J.
   Rowley, Richard
   Rowoldt, Jessica L.
   Rubi, Ketty
   Rubin, Gloria R.
   Rubio, Shirley D.
   Running Crane, Misty D.
   Russo, Michael
   Rutigliano, Michael
   Rutt, Beverly T.
   Ryan, Cynthia
   Rydzewski, Philip P.
   Rydzynski, Terry
   Rykowski, Katherine C.
   Saavedra, Grace M.
   Sage, Mary F.
   Salazar, Paula A.
   Salazar, Yolanda E.
   Sally, Lamar
   Salvail, Joseph O.
   Sanchez, Lorena L.
   Sanchez, Maria G.
   Sanchez, Marlene M.
   Sanders, Erma J.
   Sanders, Jenice
   Sandison, Kenneth A.
   Sanford, Heidi L.
   Sangiorgi, Joanne H.
   Sanidad, Deborah E.
   Santiago, Samuel
   Sass, Kurt
   Sassoon, Irene
   Satterthwaite, Debbie J.
   Saucedo, Dawn S.
   Saunders, Demetria
   Saunders, Jill
   Sauter, Ray C.
   Savoia, Cindy
   Sawall, Therese M.
   Sawh, Ramola
   Sayone, John H.


Exhibit A: Eligible Plaintiffs        33
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 41 of 49



   Schadler, Robert J.
   Scheib, Ronnie
   Schlachter, Adam
   Schmidt, Maria E.
   Schmidt, Maryjo
   Schnautz, Jo Anne
   Schneider, Harlan A.
   Schneider, Steven R.
   Schoeberl, Barbara
   Schug Jr, Brian A.
   Schultz, James F.
   Schultz, Ronald
   Schuster, Mary L.
   Schwab, Lawrence R.
   Schwaneman, Eric J.
   Schwartz, Howard
   Schwarz, Stanley A.
   Schweizer, Laurilee K.
   Schwiebert, Deni
   Sciacca, Joseph J.
   Scott, Gregory L.
   Scott, Kimberly M.
   Scott, Roland H.
   Selvaggio, Nicholas J.
   Sena, James S.
   Senigar, Tracy P.
   Senk, Edwin
   Sepe, Thomas
   Serrano, Frank A.
   Sersen, David
   Sevilla, William A.
   Sewright, Gail M.
   Seymour, Paula K.
   Sgueglia, Maria
   Shaffer, Kay E.
   Shamilyan, Zakhar Z.
   Sharif, Denise V.
   Sharples, Marilyn
   Shatela, Redwan A.
   Shaw, Martha
   Shea, Sean O.
   Shea, Susan D.
   Sheeley, Berta A.
   Shelby, Mamie L.
   Shell-Croom, Gussie
   Shelley, Michael
   Shelton, Judy E.
   Shepherd Sr., Eugene


Exhibit A: Eligible Plaintiffs        34
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 42 of 49



   Shepherd, Cherylle A.
   Sheppard, Danette
   Sherman, Dana
   Shewey, Jeannie L.
   Shoffner, Julia M.
   Shooshani, Poline
   Shugart, Janet
   Siegler, Christophe R.
   Siemons, Carol A.
   Silva, Leilan L.
   Silver, Jean E.
   Simmons, Donald W.
   Simmons, Marlene
   Simms, Bonnie
   Simon, Linda G.
   Simon, Stephen J.
   Simonson, Tamber L.
   Simpson, Robert L.
   Sims Jr., James L.
   Sims, Betty
   Sims, Kiana S.
   Singh, Betti A.
   Singletary, Sybil M.
   Sirignano, Gloria
   Sirmans, Saundra L.
   Sisk, Calvena
   Skibbens, Charles P.
   Skutsch, Thomas W.
   Slaight, Aaron
   Slatus, Edmond
   Sloan, Sheila
   Slocum, Donald
   Sloyan, Jane M.
   Smart, Ashley
   Smith, Alexis
   Smith, Anita R.
   Smith, Bobby
   Smith, Bradley G.
   Smith, Bruce
   Smith, Carla
   Smith, Cindernella
   Smith, Ciuleandra J.
   Smith, Clarence J.
   Smith, Damien D.
   Smith, Jeffrey T.
   Smith, Kelly J.
   Smith, Kim N.
   Smith, Melvin D.


Exhibit A: Eligible Plaintiffs        35
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 43 of 49



   Smith, Sandy
   Smith, Shelia
   Smith, Stacey
   Smith, Tracey K.
   Smrz, Jeffrey A.
   Snell, Tyrone E.
   Solomon, Denise A.
   Sommer, Donna L.
   Sommer, Linda
   Somoza, Julio G.
   Soop, Allen
   Soriano, Roslyn X.
   Sosna, Larry D.
   Soto, Maritza
   Soto, Victor
   Spaulding, John
   Spear, Patricia
   Spears, James
   Spencer, Lyris E.
   Spina, Salvatore
   Spradlin, Esther L.
   Sprague, Ronald K.
   Spratt, Andrew B.
   Springer, Pleschette A.
   Springman, John K.
   Spurlin, Sibyl
   St. Louis, Jason E.
   Stagg, Vivian L.
   Stallworthwilli, Deborah A.
   Stalmack, Karen A.
   Stanfill, Charles R.
   Stanley, Carolyn A.
   Stanley, Vera N.
   Stanzione, Suzanne E.
   Starke, John D.
   Starks, Evangeline W.
   Statdfield, Shirley
   Stecker, James H.
   Steele, Lark L.
   Steele, Rena
   Stefen, Only One Name
   Stenger, Margaret A.
   Stephan, Linda M.
   Stephens, Cheryl C.
   Sternbach, Margaret T.
   Stevenson, John S.
   Stewart, Annette J.
   Stewart, Frances


Exhibit A: Eligible Plaintiffs        36
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 44 of 49



   Stewart, Laurita
   Stewart, Margaret A.
   Stewart, Teresa A.
   Still, Tracy
   Stimson, Betty K.
   Stith, James N.
   Stoddard, William J.
   Stogden, Kelly
   Stone, Dan N.
   Stone, Donald S.
   Stone, Rosiland
   Stowell, Hannelori A.
   Stowell, Richard K.
   Strain, Myeasha
   Strauss, Carolyn J.
   Stripling, Pamela E.
   Strong, Cheryl
   Strong, Emberley A.
   Stuart, George M.
   Stucker, Mary N.
   Stupin, Christine M.
   Sturdivant, Gwendolyn P.
   Suarez, Enrique
   Suber, Elaine E.
   Subia, Lori
   Sudden, Richard S.
   Summerlin, Marjorie E.
   Sumner, Thomas A.
   Sumpter, Juanita
   Sundblom, Dana L.
   Surin, Caroline A.
   Suryk, Richard
   Sutherland, Marcia G.
   Sutton, Lynda
   Swavely, Reginald J.
   Swidecki, Amy
   Swidecki, Carrie
   Swidecki, Jamie B.
   Swidecki, Linda
   Swift, Karyna M.
   Sznapstajler, David
   Taffe, Thomas
   Tammons, Herbert H.
   Tandy, Jim
   Tants, Theresa M.
   Taquino, Edith S.
   Tarr, John B.
   Tasso, Sonia


Exhibit A: Eligible Plaintiffs        37
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 45 of 49



   Tauss, Frank J.
   Taylor, Lloyd M.
   Taylor, Lyle O.
   Taylor, Roderick W.
   Tello, Liliana
   Temple, Sheila M.
   Tenen, Gilbert Bruce
   Terracina, Stephen J.
   Terrel, Lorna Y.
   Terry, Regina
   Testani, Teresa M.
   Tewes, Dale A.
   Tham, Yen
   Thomas, Diane
   Thomas, Fannie
   Thomas, Sandra
   Thomas, Shelby K.
   Thomas, Valerie R.
   Thomas, Yvette P.
   Thompson Jr, Bobby E.
   Thompson, Audrey J.
   Thompson, Ethel V.
   Thompson, Robert S.
   Thompson, Tawn N.
   Tillman, Kimberly P.
   Tinjum, Jens R.
   Tobias, Benjamin H.
   Tomlin, Mary L.
   Toomoth, Fredrick E.
   Torres, Violet D.
   Torrez, Monica D.
   Tourrette, Charles G.
   Toyota, Kevin H.
   Tracton, Syndi
   Tracy, Anne W.
   Trama, Anthony
   Travertini, Linda A.
   Traylor, Kathleen S.
   Trejo, Fidel
   Triplett, Beth A.
   Trujillo, Ray
   Tucker, Hugh
   Tullis, Elizabeth M.
   Turner, Artavior
   Turner, Debra L.
   Turner, Leslie
   Tyson, Jontae R.
   Tyson, Paul A.


Exhibit A: Eligible Plaintiffs        38
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 46 of 49



   Ude, Dona
   Uglowook, Sharon O.
   Underwood, Gloria W.
   Urias, Angela D.
   Uwumarogie, Portia
   Vaag, Lynn
   Valencia, Pedro J.
   Valenzuela, Alicia M.
   Van Beek, Carol
   Van Brunt, Anna Maria F.
   Van Dyke, Robert J.
   Van Eck, Harold F.
   Van Iwarden, Tammy
   Van Tichelt, Brett
   Vanschoor, Liz A.
   Vasquez, Sonya M.
   Vatter, Robert S.
   Vay, Michele
   Vazquez, Helen W.
   Vazquez, Rosario
   Velasquez, Cruz
   Velez, Jaime A.
   Venegas, Carlos P.
   Vera, Luis X.
   Vera, Raiza F.
   Verbrugghen, Susan A.
   Verdiner, Miriam
   Verdun, Regina
   Vickson, David W.
   Viers, Paul B.
   Vigil, Cynthia I.
   Villafana, Sandra L.
   Villegas, Gunter
   Villero, Monna
   Vinson, Patsy L.
   Violin, Roxy R.
   Voelsing, Delia
   Vogel, Edward F.
   Volk, Julia A.
   Vsych, Jurgen
   Vu, Michael H.
   Wagner, Sharon B.
   Waguespack, Sharon M.
   Wahl, Bruce E.
   Walker, Ethel L.
   Walker, Gary L.
   Walker, Michael E.
   Walker, Sheryl D.


Exhibit A: Eligible Plaintiffs        39
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 47 of 49



   Walsh, Virginia A.
   Walton, Kirk D.
   Waltrip, Michele R.
   Ward, Linda A.
   Ward, Marilyn N.
   Ware, Gwendolyn H.
   Wargo, Nanette
   Warner, Shelly A.
   Warren, Renae D.
   Warwick, Edie
   Washington, Aubrey J.
   Washington, Lorine
   Washington, Sayidah
   Washington, Stuart S.
   Watahomigie, Angelita
   Waters, Deborah G.
   Watson, Anthony E.
   Watson, Glynnis
   Watts, Deanna
   Watts, Kurk
   Weatherbee, Frances G.
   Weatherton, Damali
   Webb, Floyd A.
   Webb, Karen A.
   Webb, Margaret A.
   Webb, Maxine
   Weber, Christine T.
   Weber, Kimberly A.
   Weber, Kirk N.
   Weber, Pamela J.
   Weber, Scott A.
   Weibert, Theodore
   Weinberger, Roy
   Weisse, Timothy M.
   Weissman, Susan
   Weitz, Marvin
   Welch, Benjamin R.
   Wells, Dorothy M.
   Wells, Rosie M.
   Welton, Wanda M.
   Wencel, James R.
   Wencel, Jan K.
   Weng, Hsieh Y.
   Weng, Lin-Chieh
   Wenrick, William W.
   West, Ernest L.
   West, Sharon Y.
   West, Veronica D.


Exhibit A: Eligible Plaintiffs        40
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 48 of 49



   West-Myers, Dona L.
   Weston, Robert
   Wheatley, Joseph K.
   Whitaker, Raymond A.
   Whitbourne, David P.
   White, Antoinette L.
   White, Charlene
   Whitehead, Frank N.
   Whitney, Jania D.
   Wilcox, Shirley
   Wilder, Donna L.
   Wildwood, Julia
   Wiley, Casaundra
   Wiley, Susan K.
   Wilkerson, Prentiss
   Wilkerson, Harold L.
   Wilkerson, Mary L.
   Wilkins, Warren S.
   Wilkinson, Eileen
   Willens, Dana E.
   Williams, Akua
   Williams, Ben
   Williams, Beverly
   Williams, Bryan
   Williams, Curtis J.
   Williams, Dollye Y.
   Williams, Doris F.
   Williams, Glen A.
   Williams, Harold S.
   Williams, Izola B.
   Williams, Kenya R.
   Williams, Lia M.
   Williams, Richard D.
   Williams, Stephen F.
   Williams, Tamara W.
   Williams, Wallace R.
   Williams, Wendy T.
   Williamson, Sandra
   Willis, Faith
   Willner, Gerald
   Wilsey, Charity D.
   Wilson, Beverly H.
   Wilson, Carrol A.
   Wilson, Delroy
   Wilson, Dorothy Y.
   Wilson, Marjorie G.
   Wilson, Veronica D.
   Wilson, Victoria E.
   Wilson, Virginia L.

Exhibit A: Eligible Plaintiffs        41
       Case 1:01-cv-00495-EGB Document 362 Filed 09/17/10 Page 49 of 49



   Wilson-Bradley, Jacqueline
   Wilt, Steven M.
   Wilton, Amber C.
   Winbush Sylvers, Queen Esther
   Winter-Neighbors, Gwen W.
   Winters, Leslie
   Wolf, Sharon D.
   Wolfe, Gerard R.
   Womack, Iesha D.
   Wong, Yue Mee
   Woodburn, Thomas O.
   Woodbury, Susan
   Woods, Adrian
   Woods, Charles M.
   Wooten, Herman E.
   Worden, Carmen T.
   Workman, Laura M.
   Worrell, Maureen A.
   Worth, Kim W.
   Worthington, Susan E.
   Wright 3rd., James E.
   Wyllie, Christine D.
   Yacelga, Aida
   Yamauchi, Jeff S.
   Yeargin, Torianto L.
   Young, Allison I.
   Young, Barrow Jr
   Young, Josephine
   Young, Madelynne J.
   Yount, Jennifer K.
   Yu, Stephen
   Zabala, Anidia G.
   Zaharakis, Vangelia
   Zaragoza, Samantha M.
   Zarate, Lawrence
   Zar-Hall, James W.
   Zeller, Geoffrey
   Zhang, Baozhao
   Ziskind, David
   Zolnier, Michell R.
   Zuniga, Hector
   Zupan, Kathy A.
   Zurlo, April L.
   Zuza Jr., Benjamin E.




Exhibit A: Eligible Plaintiffs        42
